 8:05-cr-00032-LSC-SMB          Doc # 51      Filed: 06/10/05     Page 1 of 2 - Page ID # 224




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )           8:05CR32
                       Plaintiff,                    )
                                                     )
       vs.                                           )          REPORT AND
                                                     )
KRISTINA VOIEN,                                      )      RECOMMENDATION
                                                     )
                       Defendant.                    )



       On June 10, 2005, defendant Kristina Voien (Voien), together with her counsel,
Gregory A. Pivovar, appeared before the undersigned magistrate judge, waived indictment,
and consented to the filing of the Information herein. Voien was advised of the charges, the
penalties, and the right to appear before a United States District Judge. After orally
consenting to proceed before a magistrate judge, Voien entered a plea of guilty to Counts I
and II of the Information.
       After being sworn, Voien was orally examined by the undersigned magistrate judge in
open court as required by Federal Rule of Criminal Procedure 11. Voien also was given the
advice required by that Rule. Finally, Voien was given a full opportunity to address the court
and ask questions.
       Counsel for the government and counsel for Voien were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was a
factual basis for Voien’s plea of guilty to Counts I and II of the Information.
       Therefore, I find and conclude that: (1) the pleas are knowing, intelligent, and voluntary;
(2) there is a factual basis for the pleas; (3) the provisions of Rule 11 and any other provisions
of the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty, on a form approved by the court, was completed by Voien, Voien’s
counsel and counsel for the government, and such petition was placed in the court file (Filing
No. 43); (5) the plea agreement is in writing and is filed in the court file; (6) there were no
agreements or stipulations other than those contained in the written plea agreement except
 8:05-cr-00032-LSC-SMB           Doc # 51      Filed: 06/10/05     Page 2 of 2 - Page ID # 225




the government agreed to dismiss the Indictment against Voien at the time of her sentence
on the Information.


       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.      She accept the guilty plea and find the defendant, Kristina Voien, guilty of the
crimes set forth in Counts I and II of the Information to which Voien tendered a guilty plea;
       2.      She accept the written plea agreement with the understanding that the court is
not bound by the parties’ stipulations, but may with the aid of the presentence report,
determine the facts relevant to sentencing.


                                          ADMONITION
       Pursuant to NECrim 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
       DATED this 10th day of June, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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